






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00442-CV






In re Healthy Innovations, Inc. and Kevin Serafini






ORIGINAL PROCEEDING FROM TRAVIS COUNTY







M E M O R A N D U M   O P I N I O N



		The real party in interest, Bar Nothing Distributors, L.P., has filed an Unopposed
Motion to Abate requesting that this original proceeding be abated pending mediation of the
underlying dispute.  We grant the motion to abate.  We dismiss the motion to expedite consideration
of the motion to abate as moot.

		This original proceeding is abated until further order of the Court.  The parties must
file a letter reporting the status of this cause on or before November 10, 2008.  Any party may file
a motion to reinstate at any time.



						                                                                                     

						G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Puryear and Waldrop

Abated

Filed:   October 15, 2008


